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UNITED STATES BANKRUPTCY COURT FOR THE
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CASE NO.: 10-01013-CED
CHAPTER 11 CASE

MICHAEL S LONGENECKER

Debtor.
/

 

NOTICE OF ELECTION BY CLASS 11 PURSUANT TO §1111(b)

COMES NOW SUNTRUST MORTGAGE INC., designated as Class 11 in the Plan of
Reorganization submitted by Michael Longenecker, (D.E # 120), and hereby serves notice that it has
elected application of paragraph (2) of §1111(b).

I HEREBY CERTIFY that a true and correct copy of the foregoing NOTICE OF ELECTION BY
CLASS 11 PURSUANT TO §1111(b) was delivered to the named addressees by First Class U. S. Mail

postage pre-paid and or electronically mailed, this i day of IV 0 With Zo f , 2010.

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Bb

By: fo
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09-0434@
SOS)
Case 8:10-bk-01013-CED Doc 243

MAILING LIST

BENJAMIN E. LAMBERS

UNITED STATES TRUSTEE
TIMBERLAKE ANNEX

501 EAST POLK STREET, SUITE 1200
TAMPA, FL 33602

MICHAEL S LONGENECKER
901 WEST WALDRON STREET
ARCADIA, FL 34266

SHEILA D. NORMAN,, ESQ.
1905 WEST KENNEDY BLVD
TAMPA, FL 33606

UNITED STATES TRUSTEE
TIMBERLAKE ANNEX

501 EAST POLK STREET, SUITE 1200
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09-00340

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